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 9 THE METROPOLITAN WATER DISTRICT
   OF SOUTHERN CALIFORNIA
10

11                              UNITED STATES DISTRICT COURT
12                 CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
13

14
       AGUA CALIENTE BAND OF                      Case No.: 5:13-cv-00883 JGB (SPx)
15     CAHUILLA INDIANS,                          Judge: Hon. Jesus G. Bernal
16
                           Plaintiff,             ORDER GRANTING
17     and                                        METROPOLITAN WATER
18
                                                  DISTRICT OF SOUTHERN
       UNITED STATES OF AMERICA,                  CALIFORNIA’S EX PARTE
19                                                APPLICATION FOR LEAVE TO
20
                     Plaintiff-Intervenor,        FILE AMICUS CURIAE BRIEF AND
              v.                                  REQUEST FOR JUDICIAL NOTICE
21

22
       COACHELLA VALLEY WATER                     Phase 2 Hearing Date:
       DISTRICT, et al.,                          Date: January 22, 2018
23                                                Time: 9:00 a.m.
24                                                Dept: Courtroom 1
                           Defendants.
25                                                Action Filed: May 14, 2013
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            ORDER GRANTING METROPOLITAN WATER DISTRICT OF SOUTHERN CALIFORNIA’S EX PARTE
           APPLICATION FOR LEAVE TO FILE AMICUS CURIAE BRIEF AND REQUEST FOR JUDICIAL NOTICE
     Case 5:13-cv-00883-JGB-SP Document 233 Filed 01/12/18 Page 2 of 2 Page ID #:9358


 1                                             ORDER
 2           The Metropolitan Water District of Southern California seeks leave by ex parte
 3     application to file an amicus curiae brief in relation to the Phase 2 dispositive motions,
 4     and for judicial notice of public documents referenced in the amicus brief.             The
 5     application is opposed by Plaintiff Agua Caliente Band of Cahuilla Indians and Plaintiff-
 6     Intervenor United States of America for the reasons set forth in the Declaration of Joseph
 7     Vanderhorst filed concurrently with the ex parte application.
 8           Having considered the ex parte application and the opposition of Plaintiff and
 9     Plaintiff-Intervenor, the Court GRANTS the application and request for judicial notice.
10           The amicus curiae brief accompanying the application is ORDERED filed.
11           IT IS SO ORDERED.
12

13     Date: January 12, 2018
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                                                    HON
                                                    HONORABLE
                                                       NORABL    LE JESU
                                                                    JESUSUS G.
                                                                             G. BERNAL
                                                                                BERNAL
                                                    United
                                                    Uniteed States
                                                            States District Judge
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            ORDER GRANTING METROPOLITAN WATER DISTRICT OF SOUTHERN CALIFORNIA’S EX PARTE
           APPLICATION FOR LEAVE TO FILE AMICUS CURIAE BRIEF AND REQUEST FOR JUDICIAL NOTICE
